                     Case 1:21-cr-00035-RC Document 305 Filed 04/12/23 Page 1 of 1


AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                                District of Columbia

                   United States of America
                                                                               )
                               Plaintiff                                       )
                                  V.                                           )
                           Jeffrey Sabol                                       )
                                                                               )
                              Defendant                                        )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                        Correctional Treatment Facility/Office of the General Counsel

                                                       (Name of person to whom this subpoena is directed)

    � Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:AII audio and video recordings from Jeffrey Sabol's Deficiency Report hearing, which occured on February 7,
         2023 at the DC Jail. This production includes, but not limited to, any and all body camera footage from Officer
         Chioma and audio and video recording from the pod where the hearing took place. Any paper reports from
         hearing
 Place: Law Offices of Alex Cirocco, LLC                             Date and Time:
        600 Getty Ave., Suite 305
        Clifton, NJ 07011, or via email if possible

     0 Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

                                                                                           Date and Time:
                                                                                       I


       The following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
 Date: ).�      \l-).__l
                                    CLERK OF COURT
                                                                                              OR

                                            Signature of Clerk or Deputy Clerk                                         Attorney's signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Jeffrey Sabol
--------------------- - - -- , who issues or requests this subpoena, are:
 AIex Cirocco, Esq., 600 Getty Ave., Suite 305, Clifton, NJ 07011, alex@ciroccolaw.com, 973-327-9995
                                Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things or the
 inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
 it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
